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 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. 2:07-cr-0314 FCD
10                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
11                                       )                CONTINUING STATUS CONFERENCE
           v.                            )                AND EXCLUDING TIME
12                                       )
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES,                    )
     JOSE LUIS MORALES,                  )
14   JUAN MORALES, and PETRA             )
     PRECIADO MORALES,                   )
15                                       )
                 Defendants.             )
16   ____________________________________)
17   The parties hereby stipulate to the following:
18      1.      A status conference in this matter is now scheduled for March 24, 2008 at 10:00 a.m.
19      2.      This case involves an alleged complex scheme to defraud the Unemployment
20              Insurance System. At this point, approximately 1,000 pages of discovery have been
21              produced. The parties continue to review the discovery and conduct investigation
22              necessary to prepare for trial. In light of need for attorney preparation, a continuance
23              of the status conference until April 28, 2008 is requested.
24      3.      It is stipulated by the parties that time continue to be excluded to April 28, 2008 for
25              preparation of counsel pursuant to local code T4. 18 U.S.C. 3161(h)(8)(B)(iv).
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28                                                    1
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 1
 2       DATED: March 20, 2008             /s/ Tim Warriner
                                           Attorney for defendant, TERESA MARIA MORALES
 3
 4       DATED: March 20, 2008             /s/ Bruce Locke
                                           Attorney for defendant, ENRIQUE MORALES
 5
 6       DATED: March 20, 2008             /s/ Miguel A. Hernandez
                                           Attorney for defendant, JOSE LUIS MORALES
 7
 8       DATED: March 20, 2008             /s/ Clarence Emmett Mahle
                                           Attorney for defendant, JUAN MORALES
 9
10       DATED: March 20, 2008             /s/ Donald P. Dorfman
                                           Attorney for defendant, PETRA PRECIADO MORALES
11
12       DATED: March 20, 2008             /s/ Matthew Stegman
                                           Assistant U.S. Attorney
13
14
15                                              ORDER
16           GOOD CAUSE APPEARING, it is hereby ordered that the status conference set for
17    March 24, 2008 be continued to April 28, 2008 at 10:00 a.m., and that time continue to be
18    excluded to April 28, 2008 for preparation of counsel pursuant to Local Code T4, 18 U.S.C.
19    3161(h)(8)(B)(iv).
20.          IT IS SO ORDERED.
21 DATED: March 21, 2008
22
23                                         _______________________________________
                                           FRANK C. DAMRELL, JR.
24                                         UNITED STATES DISTRICT JUDGE
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28                                                   2
